          Case 1:20-cv-08478-AJN Document 9 Filed 02/25/21 Page 1 of 1



                                                                                             2/25/21
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




  Paguada,

                         Plaintiff,                                               20-cv-8478 (AJN)

                 –v–                                                                   ORDER

  Centric Denim USA, LLC,

                         Defendant.


ALISON J. NATHAN, District Judge:

        It having been reported to this Court that this case has been settled, it is hereby
ORDERED that the above-captioned action is discontinued without costs to any party and
without prejudice to restoring the action to this Court’s calendar if the application to restore the
action is made within thirty (30) days. To be clear, any application to reopen must be filed
within thirty days of this Order; any application to reopen filed thereafter may be denied solely
on that basis.

         All scheduled conferences are hereby adjourned. Within the thirty-day period provided
for in this Order, the parties may submit to the Court their own Stipulation of Dismissal for the
Court to So Order. Pursuant to Rule 5.A. of the Court’s Individual Practices in Civil Cases, the
Court will not retain jurisdiction to enforce a settlement agreement unless the terms of the
agreement are made part of the public record.

       SO ORDERED.


Dated: February 25, 2021


                                                      __________________________________

                                                              ALISON J. NATHAN
                                                              United States District Judge
                                                              New York, New York
